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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 MICHIGAN RESTAURANT &
 LODGING ASSOCIATION; HEIRLOOM
 HOSPITALITY GROUP, LLC; H.I.H.                    Case No.
 INC. d/b/a SUBURBAN INNS,
                                                   Hon.
                Plaintiffs,

 vs.                                               VERIFIED COMPLAINT FOR
                                                   DECLARATORY AND INJUNCTIVE
 ROBERT GORDON, in his official                    RELIEF
 capacity as Director of the Michigan
 Department of Health and Human Services,

             Defendant.
____________________________________

        The Michigan Restaurant & Lodging Association (“MRLA”), Heirloom Hospitality Group

LLC (“Heirloom”), and H.I.H. Inc. d/b/a Suburban Inns (“Suburban Inns”) (collectively,

“Plaintiffs”), bring this lawsuit to vindicate their rights under the United States and Michigan

Constitutions to permit indoor food and beverage consumption notwithstanding the Emergency

Order issued on November 15, 2020 by the Michigan Department of Health and Human Services

(“MDHHS”). Plaintiffs brings this Complaint for declaratory and emergency injunctive relief

against Defendant Robert Gordon, in his official capacity as Director of the MDHHS, and allege as

follows:


                                      INTRODUCTION

        1.    Since the beginning of the global pandemic, Michigan Governor Gretchen Whitmer

has issued nearly 200 executive orders that – in the name of protecting public health – required

material restrictions and cessation of private business for numerous establishments, including

restaurants and bars, deemed “nonessential.” The Michigan Supreme Court has since held the

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majority of the Governor’s orders unconstitutional under the Michigan Constitution. In re

Certified Questions From U.S. Dist. Court, W. Dist. Of Mich., S. Div., No. 161492, 2020 WL

5877599, at *15 (Mich. Oct. 2, 2020). In its decision, the Court unanimously held that Governor

Whitmer did not have authority to issue the majority of her “sweeping” Executive Orders. Id. At

the same time, the Court explicitly indicated that going forward “the Governor and Legislature”

should “work together to address this challenge and we hope that this will take place.” Id. at *3,

n.1.

        2.     However, the Governor has not worked with the Legislature to address the

continuing challenge of COVID-19. Instead, the Governor has turned to MDHHS to circumvent

the Michigan Supreme Court’s decision and order in In re Certified Questions, and has directed

MDHHS to issue multiple orders that once again impermissibly infringe on Plaintiffs’ rights under

the Michigan and United States Constitutions. While Plaintiffs do not disagree with the need to

protect public health, Director Gordon’s most recent action, the “Emergency Order under MCL

333.2253 – Gatherings and Face Mask Order” issued on November 15, 2020 (“November 15 Order,”

attached here as Exhibit 1), which closes establishments for indoor food and beverage consumption,

does not accomplish that goal as applied to Plaintiffs.

        3.     The ostensible purpose of the November 15 Order is to prevent person-to-person

contact and spread of COVID-19. But the threat or likelihood of such contact and spread does not

depend on whether a business activity is deemed by the government to be essential. That threat

depends on the health and safety measures being taken by business owners to mitigate the threat.

        4.     Plaintiffs will be materially affected by the November 15 Order. Under threat of

criminal penalties, they have been forced to close or materially restrict their business activities in

violation of their constitutional rights. At the same time, the Governor and MDHHS have



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permitted and continue to permit numerous indoor “non-essential” business activities, provided

those business owners adhere to health and safety guidance, principally from the United States

Center for Disease Control and Prevention (the “CDC”) and from MDHHS. Inexplicably,

restaurants and bars are not given that option under the November 15 Order, even though they have

continuously and unequivocally demonstrated for several months of operation during the pandemic

that they can do so safely. Plaintiffs are fully willing and capable of adhering to strict health and

safety guidance, including that in prior MDHHS orders, and have so notified Defendant.

        5.     Plaintiffs have shown themselves highly capable of following the comprehensive

protocols that have been in place for several months, and there is no reason in-person dining should

be entirely prohibited now, especially while the November 15 Order permits other businesses to

have clientele indoors and on premises. For example, under the November 15 Order, it is legal to

get a tattoo or haircut but not to eat a meal indoors at a restaurant.

        6.     Plaintiffs barely survived the devastating effects of Governor Whitmer’s invalid

Executive Orders and now more than ever need to be afforded the same opportunities other

businesses like gyms, salons, and tattoo parlors have under the November 15 Order to continue to

operate – before it is too late and Plaintiffs are forced to close many of their businesses forever.

        7.     While restaurants could rely on federal dollars and utilize outdoor seating during

the comparatively mild weather of the first shutdown, those federal dollars are gone and the

weather in Michigan in November and December will make offering outdoor seating options

physically and economically impossible.

        8.     During the most recent months of the pandemic, restaurants have provided a place

for people to gather safely. Restaurants offer a highly regulated, sanitized, capacity-limited and

appropriately spaced setting for people to congregate that is indisputably less likely to spread



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COVID-19 than the innumerable residential holiday social gatherings that will now occur in totally

unregulated residential environments.

        9.      MDHHS’s own data supports keeping restaurants open. In spite of serving millions

of Michiganders each day, there are only 5 investigations statewide involving a restaurant patron

and MDHHS itself attributes only about 4.4% of outbreaks to restaurants. Yet, given the reality

of the November 15 Order, more than 40% of restaurants are now likely to close at least temporarily

and 250,000 employees are likely to be laid off from restaurants over the holiday season – with no

federal funds and an exhausted Unemployment Insurance Trust Fund.

        10.     Director Gordon’s decision to effectively shutter restaurants for a second time this

year – this time with no safety net of federal stimulus dollars to soften the blow to already ailing

operators and employees – will absolutely lead to a catastrophic economic fallout. Approximately

2,000 restaurants have already closed their doors permanently in Michigan in 2020 and if the

prohibition on indoor dining is prolonged, 6,000 more restaurants are likely to permanently close

by spring 2021. Plainly, based on MDHHS’s own transmission data, the human toll on restaurant

owners, their employees, and the entire food service supply chain will be dramatically worse than

what Director Gordon is attempting to mitigate through the November 15 Order. In fact, closing

down the restaurant industry in Michigan will affect Michigan’s broader economy and potentially

imperil the ability for basic food supplies to be distributed in the state.

        11.     There is nominal if any public health benefit from the November 15 Order as

applied to food service establishments. It is indisputable that the indoor consumption of food and

beverages can be done safely and at least as safely as indoor salon services and retail shopping. In

fact, despite ever-present COVID-19 concerns, indoor consumption of food and beverages at




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restaurants utilizing proper health and safety guidance is still currently permitted just over the state

line, in Indiana and Ohio.

        12.     Accordingly, Plaintiffs seek an emergency preliminary injunction that allows them

to immediately resume on-premises, indoor food and beverage consumption. They also seek a

permanent injunction protecting these interests, together with costs and actual attorney fees.


                                              PARTIES

        13.     First established in 1921, the MRLA is a trade association representing thousands of

Michigan food service, beverage, and lodging establishments. Its principal office is located in

Lansing, Michigan. MRLA’s members, members’ employees, and those like them make up an

integral part of Michigan’s economy, employing nearly 600,000 people and generating $40 billion

in statewide annual revenue.

        14.     Suburban Inns is a corporation headquartered in Hudsonville, Michigan. Peter R.

and Carol Beukema founded Suburban Inns in 1979 with just one small hotel in St. Ignace,

Michigan – The Georgian House. Peter D. Beukema, the son of the company’s founders, is

currently the chief executive officer of Suburban Inns, which today employs approximately 250

people (down from 775 in March 2020) and develops, owns, and operates eight hotels in Michigan:

the Hampton Inn of Holland, the Holiday Inn Express of Holland, the Holiday Inn Express of

Grand Rapids SW/Grandville, the Holiday Inn of Midland, the Courtyard Marriott of Holland,

Hilton Garden Inn Grand Rapids East, Embassy Suites Grand Rapids Downtown, and

CityFlatsHotel Holland. Suburban Inns also owns and manages four Michigan restaurants: Big

E’s Sports Grill in Holland, Midland, and Grand Rapids as well as Sharkee’s Bar and Grill in

Holland.




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         15.    Heirloom is one of Detroit’s preeminent restaurant and hospitality companies.

Founded in 2011 by Jeremy Sasson, the oldest son of immigrants who came to the United States

with $400 and a dream, Heirloom now develops, owns, and operates three world-class restaurant

venues that push the limits of its guests’ understanding of food and beverage, style and service:

Townhouse Birmingham, Townhouse Detroit, and Prime and Proper. In March 2020, Heirloom

had 350 employees but now operates with only its most senior team members. While Heirloom

survived the first shutdown by providing contactless delivery, prepared meals, and meal kits for

months, it will be economically gutted and may not survive a second shutdown.

         16.    Defendant Robert Gordon is the Director of the Michigan Department of Health

and Human Services and is being sued in his official capacity. Defendant Gordon is, and at all

relevant times was, an employee of the State of Michigan; he issued the challenged November 15

Order.


                                  JURISDICTION AND VENUE

         17.    Plaintiffs seek declaratory and injunctive relief preventing enforcement of the

November 15 Order against Plaintiffs and similarly situated parties.

         18.    Plaintiffs bring this lawsuit pursuant to the Civil Rights Act of 1871, 42 U.S.C. §

1983, and allege violations of the Fifth and Fourteenth Amendments to and the Commerce Clause

and Dormant Commerce Clause of the United States Constitution, as well as to the Separation of

Powers and Non-Delegation Clauses of the Michigan Constitution. Plaintiffs also bring takings

claims under both the United States and Michigan Constitutions.

         19.    This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343, which confer

original jurisdiction on federal district courts to hear suits alleging the violation of rights under the




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United States Constitution. The Court has supplemental jurisdiction over state law claims under

28 U.S.C. § 1367.

        20.    This Court has personal jurisdiction over Defendant because he is an official of,

and resides in, the State of Michigan.

        21.    Venue in this District is proper under 28 U.S.C. § 1391(b) because a substantial

part of the events or omissions giving rise to the claims occurred in this District.


                                         BACKGROUND

Actions by the Executive Branch

        22.    On March 10, 2020, Governor Whitmer issued Executive Order 2020-04. That

order declared a state of emergency related to COVID-19 under section 1 of Article X of the

Michigan Constitution of 1963, the Emergency Management Act, 1976 PA 390, as amended, MCL

30.401 et seq., (the “EMA”), and the Emergency Powers of the Governor Act of 1945, MCL 10.31

et seq. (the “EPGA”). On April 1, 2020, Governor Whitmer issued Executive Order 2020-33

which expanded on Executive Order 2020-04, and declared both a state of emergency and a state

of disaster in Michigan. On April 30, 2020, Governor Whitmer issued Executive Order 2020-67

to continue the emergency declaration under the EPGA, as well as Executive Order 2020-68 to

issue new emergency and disaster declarations under the EMA. Governor Whitmer also issued

Executive Order 2020-21 on March 23, 2020 ordering all people in Michigan to stay home and

stay safe.

        23.    The Michigan Legislature denied an April 2020 request from Governor Whitmer to

extend the state of emergency then in place and filed suit challenging Governor Whitmer’s

authority to issue additional Executive Orders shutting down businesses state-wide when the

Governor deemed those businesses non-essential. In spite of this clear messaging from the


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Legislature, Governor Whitmer went on to issue nearly 200 additional COVID-19-related

Executive Orders which at times entirely shut down some non-essential businesses while merely

regulating other non-essential businesses.

        24.    On October 2, 2020, the Michigan Supreme Court entered an order invalidating

Governor Whitmer’s Executive Orders issued after April 30, 2020. In re Certified Questions, No.

161492, 2020 WL 5877599, (Mich. Oct. 2, 2020). The Court unanimously held that the Governor

did not have authority to issue or renew any Executive Orders relating to the COVID-19 pandemic

under the EMA after April 30, 2020. Neither did the Governor have authority to issue the orders

under the EPGA because the Act unlawfully and unconstitutionally delegates legislative power to

the Executive Branch.

        25.    Governor Whitmer moved to delay the implementation of the Michigan Supreme

Court’s ruling on October 5, 2020, but the court denied her motion.

        26.    Ostensibly pursuant to power delegated by the Legislature under MCL 333.2253,

MDHHS has since October 5, 2020 issued three Emergency Orders. First, an order issued on

October 5, 2020 restricted gatherings and required face covering requirements. Four days later,

an order issued on October 9, 2020 repealed and replaced the October 5, 2020 Order and expanded

regulations on Michigan businesses and recreational activities. On October 29, 2020, MDHHS

issued another order that repealed and replaced the October 9 Order and further expanded

regulations and restrictions on Michigan businesses and recreational activities.

        27.    On November 15, 2020, MDHHS issued an order that completely prohibits indoor

on-premises consumption of food and beverages at Michigan restaurants and bars. The November

15 Order does not bar other businesses from indoor operations with appropriate safety restrictions

nor does it offer any reasoned basis for treating restaurants differently than other businesses, such



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as salons, tattoo parlors, and retail shops. A violation of the November 15 Order is a misdemeanor,

punishable by criminal penalties and civil fines.

The Impact on Plaintiffs

        28.    In spite of the ongoing pandemic, for several months Plaintiffs and other similarly

situated restaurants, cafes, coffee houses, bars, taverns, brew pubs, microbreweries, wineries,

tasting rooms and clubs have been safely providing food and beverages for indoor, on-premises

consumption and following the strict guidelines issued by the CDC, Governor Whitmer’s

Executive Orders, and MDHSS’s Orders.

        29.    Under threat of fines and criminal penalties, the November 15 Order materially

restricts Plaintiffs’ businesses. Plaintiffs’ have lost the ability to use their real and personal

property in any meaningful economically beneficial manner. Plaintiffs’ employees have lost their

ability to work at their jobs, and to receive their regular pay and health benefits.

        30.    The November 15 Order will bring further economic devastation for Plaintiffs’

businesses. More than 17,500 eating and drinking places operated in Michigan in 2019. Between

March 1 and April 16, 2020, 53% of operators had already temporarily closed their establishments.

During the same time period, 88% of those operators laid off or furloughed employees. At the

start of 2020 there were over 450,000 restaurant and food service jobs in Michigan representing

10% of the state’s employment, but almost 250,000 of those employees had to be laid off or

furloughed between March and May 2020. Many of these Michigan businesses have not survived.

Approximately 2,000 restaurants have already closed their doors permanently in Michigan in 2020

and if the prohibition on indoor dining is prolonged, 6,000 more restaurants are likely to




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permanently close in the coming months. Nationwide, more than 100,000 restaurants – or 1 in 6

restaurants – have closed permanently or long-term because of the pandemic.1

        31.      Plaintiffs’ businesses have already lost hundreds of millions of dollars in business

opportunities as a result of the Governor’s invalid Executive Orders and now are singled out from

other non-essential businesses and suffering additional devastating losses under the November 15

Order. They are also experiencing renewed harm to their reputations and their relationships with

employees, vendors, and customers.

        32.      The November 15 Order poses constitutional problems because some private

businesses – such as gyms, retail establishments, tattoo parlors, salons – may still conduct indoor

business operations under the November 15 Order, while other similarly situated businesses like

Plaintiffs’ cannot.

        33.      The November 15 Order is not generally applicable because it does not apply

equally to all businesses that can accomplish their purposes by implementing health and safety

procedures that will reasonably protect their employees and guests.

        34.      The November 15 Order is neither neutral nor generally applicable because

Defendants have exempted certain private businesses that can accomplish their purposes through

implementation of health and safety procedures that will keep their employees and guests

reasonably safe, but not Plaintiffs who can clearly operate safely during a pandemic.

        35.      This indiscriminate ban on Plaintiffs’ offering food and beverages for indoor

consumption, given their demonstrated ability and willingness to implement health and safety

procedures that will keep their employees and guests reasonably safe, is not rationally related to

stopping the spread of COVID-19.


1
 https://www.travelandleisure.com/food-drink/coronavirus-pandemic-restaurant-shutdowns, last accessed
November 13, 2020.

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The Impact on the Public

        36.    The impact of the November 15 Order is devastating to the entire food industry

supply chain (both in- and out-of-state) and to all Michiganders who rely on Plaintiffs’ businesses

and the restaurant industry for their livelihoods, entertainment, and sustenance.


                                      CAUSES OF ACTION

      COUNT I – Violation of the Commerce Clause and Dormant Commerce Clause,
                  U.S. Const. Art. I, Sec. 8, cl. 3, and 42 U.S.C. § 1983

        37.    Plaintiffs incorporate herein by reference the allegations in all preceding paragraphs

of this Complaint.

        38.    The Commerce Clause of the United States Constitution reserves the power to

regulate interstate and foreign commerce to Congress.

        39.    Because these powers are reserved to Congress, individual states may not unduly

burden interstate commerce, including excessively burdening commerce in Michigan and favoring

commerce in other states.

        40.    The November 15 Order imposes a burden on interstate commerce and on Plaintiffs

that is clearly excessive in relation to the putative benefits. Plaintiffs’ businesses impact the flow

of interstate commerce, since many of their customers will head to neighboring states where

restaurants remain open. Furthermore, the November 15 Order impermissibly burdens the entire

food industry supply chain – both suppliers within Michigan and suppliers to Michigan.

        41.    Since Plaintiffs stand ready to provide indoor food and beverage consumption

under established health and safety guidelines while respecting social distancing, and have proven

their ability to do so, there is nominal or no public benefit to preventing Plaintiffs from providing

these services. Conversely, the November 15 Order singles out and incapacitates these businesses,

causing job loss, loss of business revenue, and inevitably bankruptcy and permanent closure of

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valuable Michigan businesses. The November 15 Order also encourages interstate travel to

neighboring states where restaurants are open. Encouraging travel during a time of pandemic is at

cross purposes to the MDHHS’s stated reasons for issuing the November 15 Order.

        42.     The November 15 Order impermissibly burdens in-state commerce to the benefit of

commerce in neighboring states by forcing Plaintiffs’ customers to go out of state for indoor, on-

premises dining. The November 15 Order also burdens interstate commerce by burdening the

entire food service industry supply chain within and to Michigan.

        43.     Accordingly, the November 15 Order is an unconstitutional regulation of and

interference with interstate commerce and/or an undue burden on in-state commerce in violation

of the Dormant Commerce Clause of the United States Constitution.


              COUNT II – Violation of the 14th Amendment’s Due Process Clause
                                    and 42 U.S.C. § 1983

        44.     Plaintiffs incorporate herein by reference the allegations in all preceding paragraphs

of this Complaint.

        45.     The Fourteenth Amendment provides that “[n]o State shall . . . deprive any person

of life, liberty, or property, without due process of law.”

        46.     Plaintiffs have a right to operate their businesses with restrictions, and to do so

without being treated unequally by the government.

        47.     The November 15 Order is neither neutral nor generally applicable and singles out

restaurants while permitting indoor business operations at many other non-essential businesses

such as salons, gyms, tattoo parlors, and retail establishments. The November 15 Order permits

many businesses to continue operating with no rational basis for those exceptions. This order, as

applied to Plaintiffs, is not rationally related to the State’s goal of preventing the spread of COVID-

19.

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        48.     Plaintiffs have no adequate remedy at law for this continuing violation of their

constitutional rights.


    COUNT III – Violation of the Takings Clauses of the U.S. & Michigan Constitutions
                      and 42 U.S.C. § 1983 (Individual Plaintiffs)

        49.     Plaintiffs incorporate herein by reference the allegations in all preceding paragraphs

of this Complaint.

        50.     Defendants have seized without appropriate compensation Plaintiffs’ real and

personal property by forcing material limitations on their businesses.

        51.     These uncompensated seizures violate the Takings Clause of the Fifth Amendment,

made applicable to States through the Fourteenth Amendment, and Article X, Section 2 of

Michigan’s 1963 Constitution.

        52.     The November 15 Order represents a taking of Plaintiffs’ property for a public

purpose, as the taking is one the Defendants have justified as protecting Michigan’s public health,

safety, and welfare.

        53.     Defendants have placed the cost of any public benefit of the November 15 Order on

the shoulders of private businesses like Plaintiffs’ and have failed to offer appropriate

compensation for these takings.

        54.     The November 15 Order materially and substantially jeopardizes the sustainability

of Plaintiffs’ businesses and Plaintiffs’ rights to property ownership.

        55.     The U.S. and Michigan Takings Clauses do not prohibit the government’s authority

to interfere with private property, but they do require the government to pay adequate

compensation for a taking.

        56.     The Takings Clauses apply to permanent as well as temporary interference with

private use of personal and real property.

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        57.     As a result of the November 15 Order, Plaintiffs, and those similarly situated, have

at least temporarily lost the economically beneficial use of their real and personal property.

        58.     The November 15 Order effects an unconstitutional taking without just

compensation.


     COUNT IV – Violation of the Michigan Constitution – Separation of Powers and Non-
                                  Delegation Clauses

        59.     Plaintiffs incorporate herein by reference the allegations in all preceding paragraphs

of this Complaint.

        60.     The November 15 Order is unconstitutional and unenforceable against Plaintiffs

because it rests on impermissible delegations of legislative authority to the Executive Branch, a

violation of the Michigan Constitution and the spirit of the Michigan Supreme Court’s recent order

in In re Certified Questions From U.S. Dist. Court, W. Dist. Of Mich., S. Div., No. 161492, 2020

WL 5877599 (Mich. Oct. 2, 2020).

        61.     The Separation of Powers Clause in the Michigan Constitution provides, “The

powers of government are divided into three branches: legislative, executive, and judicial. No

person exercising powers of one branch shall exercise powers properly belonging to another

branch except as expressly provided in this constitution.” Mich. Const. (1963) art. III, Section 2.

        62.     The legislative power in the State of Michigan is explicitly vested in the Michigan

Legislature. Id. art. IV, Section 1.

        63.     Executive lawmaking is unlawful under the Michigan Constitution. Unlawful

executive lawmaking includes a delegation of authority to the executive branch that is not

sufficiently specific, a failure to establish boundaries, or executive action beyond the Legislature’s

established boundaries. See, e.g., In re Certified Questions From U.S. Dist. Court, W. Dist. Of

Mich., S. Div., No. 161492, 2020 WL 5877599 (Mich. Oct. 2, 2020).

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        64.    When issuing its COVID-19 emergency orders, including the November 15 Order,

MDHHS relies on an impermissible delegation of legislative authority in Section 333.2253, which

provides only the vague parameters that “the director by emergency order may prohibit the

gathering of people for any purpose and may establish procedures to be followed during the

epidemic to insure continuation of essential public health services and enforcement of public health

laws.” Mich. Comp. Laws § 333.2253.

        65.    Because Section 333.2253 does not by its terms authorize MDHHS to promulgate

a regulatory scheme or in any way to restrict gatherings, but only permits MDHHS to prohibit

gatherings entirely, it does not provide authorization or sufficient parameters for the executive

branch’s lawful exercise of authority. Because the November 15 Order is not a blanket prohibition

but instead purports to be a regulatory scheme, it exceeds any putative authority Section 333.2253

confers and Director Gordon by issuing the November 15 Order has impermissibly and

unconstitutionally infringed on legislative authority. The executive branch may not engage in or

justify its improper, unconstitutional lawmaking based on such slim guidance and may not

establish a regulatory scheme in a total absence of authority.

        66.    The capricious, sporadic, and selective regulations in the November 15 Order –

regulations that irrationally single out restaurants and bars while permitting other non-essential

businesses to offer indoor services – are not based in science and lack any imaginable rational

basis for the total closure of indoor food and beverage consumption in restaurants. The November

15 Order cites no data to support singling out restaurants and bars, and MDHHS’s own data shows

that restaurants and bars are not a significant course of COVID-19 outbreaks. It is axiomatic that

closing restaurants over the Thanksgiving holiday will contribute to increasing the number of

unregulated in-residence gatherings which do not allow for proper social distancing and have



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repeatedly proven to be super-spreader events. The closure of restaurants and bars for indoor

consumption of food and beverages while many other businesses remain open for indoor services

is arbitrary, capricious, and not in any conceivable way rationally related to any public health

goals. As explained above, the November 15 Order may well contribute to the increased spread

of COVID-19. The November 15 Order thus exceeds the authority granted to MDHHS by

promulgating an impermissible regulatory scheme that selectively and onerously punishes

restaurants while allowing other businesses to operate.

        67.    Even if Section 333.2253 did provide sufficient boundaries for executive

lawmaking – which it does not – the Executive Branch has here acted well beyond its authority

and in direct contravention to the Michigan Supreme Court’s order in In re Certified Questions

From U.S. Dist. Court, W. Dist. Of Mich., S. Div., No. 161492, 2020 WL 5877599 (Mich. Oct. 2,

2020). As Michigan Supreme Court’s order makes plain, without consulting the Legislature to

gain specific guidance for promulgating rules and regulations, the Executive Branch cannot

legislate at all, let alone assess and enforce criminal penalties for alleged violations of its

unconstitutional regulatory scheme. The November 15 Order is in direct violation of the Michigan

Constitution and recent Michigan Supreme Court guidance.


                                   REQUEST FOR RELIEF

        WHEREFORE, Plaintiffs respectfully requests that this Court:

        a.     Grant immediately an emergency, preliminary injunction that authorizes Plaintiffs

to provide indoor, on-premises food and beverage consumption in accord with appropriate health

and safety protocols;




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        b.      After the claims are fully adjudicated, declare the November 15 Order

unconstitutional as applied, and permanently enjoin their enforcement against Plaintiffs and others

similarly situated;

        c.      After the claims are fully adjudicated, declare the November 15 Order an

unconstitutional taking under the U.S. and Michigan Constitutions and compensate Plaintiffs

accordingly;

        d.      Pursuant to 42 U.S.C. § 1988, enter an award of reasonable attorney fees and costs

in favor of Plaintiffs; and

        e.      Grant such other and further relief as the Court deems just and proper.

                                                  Respectfully submitted,

Dated: November
       _________,
                17 2020                              /s/ Kenneth T. Brooks
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                                                  Peter Ruddell (P63253)
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                       EXHIBIT 1
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                                              STATE OF MICHIGAN
GRETCHEN WHITMER          DEPARTMENT OF HEALTH AND HUMAN SERVICES                             ROBERT GORDON
    GOVERNOR                              LANSING                                                 DIRECTOR



                                             November 15, 2020

            Emergency Order under MCL 333.2253 – Gatherings and Face Mask Order

 Michigan law imposes on the Michigan Department of Health and Human Services (MDHHS) a duty to
 continually and diligently endeavor to “prevent disease, prolong life, and promote public health,” and
 gives the Department “general supervision of the interests of health and life of people of this state.” MCL
 333.2221. MDHHS may “[e]xercise authority and promulgate rules to safeguard properly the public
 health; to prevent the spread of diseases and the existence of sources of contamination; and to implement
 and carry out the powers and duties vested by law in the department.” MCL 333.2226(d).

 The novel coronavirus (COVID-19) is a respiratory disease that can result in serious illness or death. It is
 caused by a new strain of coronavirus not previously identified in humans and easily spread from person
 to person. There is currently no approved vaccine for this disease. COVID-19 spreads through close
 human contact, even from individuals who may be asymptomatic.

 In recognition of the severe, widespread harm caused by epidemics, the Legislature has granted MDHHS
 specific authority, dating back a century, to address threats to the public health like those posed by
 COVID-19. MCL 333.2253(1) provides that “[i]f the director determines that control of an epidemic is
 necessary to protect the public health, the director by emergency order may prohibit the gathering of
 people for any purpose and may establish procedures to be followed during the epidemic to insure
 continuation of essential public health services and enforcement of health laws. Emergency procedures
 shall not be limited to this code.” See also In re Certified Questions, Docket No. 161492 (Viviano, J.,
 concurring in part and dissenting in part, at 20) (“[T]he 1919 law passed in the wake of the influenza
 epidemic and Governor Sleeper’s actions is still the law, albeit in slightly modified form.”); id.
 (McCormack, C.J., dissenting, at 12). Enforcing Michigan’s health laws, including preventing disease,
 prolonging life, and promoting public health, requires limitations on gatherings and the establishment of
 procedures to control the spread of COVID-19. This includes limiting the number, location, size, and type
 of gatherings, and requiring the use of mitigation measures at gatherings as a condition of hosting such
 gatherings.

 On March 10, 2020, MDHHS identified the first two presumptive-positive cases of COVID-19 in
 Michigan. As of November 13, 2020, Michigan had seen 244,741 confirmed cases and 7,929 confirmed
 deaths attributable to COVID-19. Michigan was one of the states most heavily impacted by COVID-19
 early in the pandemic, with new cases peaking at nearly 2,000 per day in late March. Strict preventative
 measures and the cooperation of Michiganders drove daily case numbers dramatically down to less than
 200 confirmed cases in mid-June, greatly reducing the loss of life. Since October, Michigan has seen an
 exponential growth in cases. Daily new cases are now over 6,000 which is three times higher than what
 was seen in the spring.

 The State of Michigan presently has a seven-day average of 512 cases per million people, which is five
 times higher than the case rate on October 1. Test positivity has increased from 3.2% in early October to
 12% on November 13. And while testing has increased 78% since October 1, test positivity has increased
 225% during that same time frame, indicating COVID-19 spread is happening much more quickly than
 tests being administered. All regions in Michigan are now at the highest risk level, with seven-day
 averages in excess of 150 cases per million residents. Rising cases creates significant pressure on our
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emergency and hospital systems. Complaints of coronavirus-like illness in emergency departments
increased for the ninth week in a row for the state. Hospitalizations for COVID-19 have doubled in less
than two weeks, and there are now over 4.5 times the hospitalizations recorded on October 1. An average
of 363 daily hospital admissions were seen in Michigan in the last week, and with individuals under 60
years old accounting for nearly half of all new hospital admissions. With over 3,000 Michiganders
hospitalized for COVID-19, 15% of all available inpatient beds are now occupied by patients who have
COVID-19, the highest number since mid-April. The state death rate is 5 deaths per million people and
continues to increase. The current death rate is four times higher than it was in early October. There are
more than 300 weekly deaths in Michigan and nearly every region has more than 20 weekly deaths. Due
to delays between exposure, onset of symptoms, and hospitalization, the sharp rise in new infections
suggests that the state is entering the most challenging phase of the pandemic thus far.

To protect vulnerable individuals, ensure the health care system can provide care for all health issues,
and prevent spread in schools during the influenza season, we must reduce the spread of COVID-19. This
necessitates use of more forceful mitigation techniques to reduce the spread of the virus. As such, it is
necessary to issue orders under the Public Health Code addressing these topics.

Considering the above, and upon the advice of scientific and medical experts, I have concluded pursuant
to MCL 333.2253 that the COVID-19 pandemic continues to constitute an epidemic in Michigan. I have
also, subject to the grant of authority in 2020 PA 238 (signed into law on October 22, 2020), herein
defined the symptoms of COVID-19 based on the latest epidemiological evidence. I further conclude that
control of the epidemic is necessary to protect the public health and that it is necessary to restrict
gatherings and establish procedures to be followed during the epidemic to ensure the continuation of
essential public health services and enforcement of health laws. As provided in MCL 333.2253, these
emergency procedures are not limited to the Public Health Code.

I therefore order that:

   1. Definitions.

           (a) “Child-care organization” means that term as defined by section 1(b) of the Child Care
               Organizations Act, 1973 PA 116, as amended, MCL 722.111(b)) and day, residential, travel,
               and troop camps for children (as defined by Rule 400.11101(1)(q) of the Michigan
               Administrative Code).

           (b) “Face mask” means a tightly woven cloth or other multi-layer absorbent material that
               closely covers an individual’s mouth and nose.

           (c) “Food service establishment” means that term as defined in section 1107(t) of the Food
               Law, 2000 PA 92, as amended, MCL 289.1107(t).

           (d) “Employee” means that term as defined in section 2 of the Improved Workforce Opportunity
               Wage Act, 2018 PA 337, as amended, MCL 408.932, and also includes independent
               contractors.

           (e) “Gathering” means any occurrence, either indoor or outdoor, where two or more persons
               from more than one household are present in a shared space.

           (f) “Household” means a group of persons living together in a shared dwelling with common
               kitchen or bathroom facilities. In dwellings with shared kitchen or bathroom facilities
               occupied by 20 or more unrelated persons, households are defined by individuals who share
               a bedroom.

           (g) “Organized sports” means competitive athletic activity requiring skill or physical prowess
               and organized by a sports organizer.


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      (h) “Sports Organizer” means an institution, association, or other organization that sets and
          enforces rules to ensure the physical health and safety of all participants for an organized
          sport.

      (i) “Exercise facility” means a location in which individuals participate in individual or group
          physical activity, including gymnasiums, fitness centers, and exercise studios.

      (j) “Symptoms of COVID-19” means at least 1 of fever, uncontrolled cough, or atypical new
          onset of shortness of breath, or at least 2 of the following not explained by a known physical
          condition: loss of taste or smell, muscle aches, sore throat, severe headache, diarrhea,
          vomiting, or abdominal pain. Per section 1(h) of 2020 PA 238, this definition represents the
          latest medical guidance, and serves as the controlling definition.

2. General capacity limitations at gatherings.

      (a) Indoor gatherings:

             (1) Are prohibited at residential venues, except where no more than 10 persons from no
                 more than 2 households are gathered. Such gatherings should be held consistent
                 with guidance issued by the Department of Health and Human Services for such
                 gatherings;

             (2) Are prohibited at non-residential venues.

      (b) Outdoor gatherings are permitted only as follows:

             (1) At residential venues, 25 or fewer persons are gathered, comprised of no more than 3
                 households;

             (2) At non-residential venues:

                    (A) 25 or fewer persons are gathered at a venue without fixed seating, and
                        attendance is limited to 20 persons per 1,000 square feet, including within
                        any distinct area within the event space;

                    (B) 25 or fewer persons are gathered at a venue with fixed seating, and
                        attendance is limited to 20% of seating capacity of the venue.

      (c) The limitations to gatherings in sections 2(a) and 2(b) do not apply to:

             (1) Incidental, temporary gatherings of persons in a shared space, such as frequently
                 occur in an airport, bus station, exercise facility, food service establishment,
                 shopping mall, or public pool, except as prohibited in section 3;

             (2) Gatherings between an employee and a customer for the purpose of receiving
                 services;

             (3) Workplace gatherings that occur consistent with the Emergency Rules issued by
                 MIOSHA on October 14, 2020;

             (4) Voting or official election-related activities;

             (5) Training of law enforcement, correctional, medical, or first responder personnel,
                 insofar as those activities cannot be conducted remotely;




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              (6) Education and support services at public, nonpublic, and boarding schools serving
                  students in prekindergarten through grade 8;

              (7) Children in a child-care organization or camp setting;

              (8) Persons traveling on a school bus or other public transit;

              (9) Gatherings for the purpose of medical treatment, including mental health and
                  substance use disorder support services;

             (10) Gatherings of up to 25 persons for the purpose of a funeral;

             (11) Residential care facilities, which are subject to the October 21 epidemic order
                 entitled “Requirements for Residential Facilities,” or any replacement of that order.

       (d) As a condition of hosting a gathering under this order, organizers and venues must design
           the gathering to encourage and maintain physical distancing, and must ensure that persons
           not part of the same household maintain 6 feet of distance from one another to the extent
           possible.

3. Gathering restrictions for particular types of facilities.

       (a) Gatherings, are prohibited in the following settings:

              (1) Entertainment venues, including: auditoriums; arenas; banquet halls; cinemas;
                  conference centers; concert halls; performance venues; sporting venues; stadiums;
                  and theaters;

              (2) Recreational facilities and places of public amusement, including: amusement parks;
                  arcades; bingo halls; bowling alleys; casinos; night clubs; skating rinks; strip clubs;
                  water parks; and trampoline parks;

       (b) Gatherings are permitted at food service establishments under the following conditions:

              (1) Persons are not gathered indoors except in custodial settings, medical facilities,
                  school and university cafeterias, shelters, and soup kitchens. If attendees are seated
                  at tables, persons must be 6 feet apart, or members of a household may share a table
                  and tables must be spaced a minimum of 6 feet apart;

              (2) Persons participating in outdoor dining are seated no more than 6 to a table and
                  tables are spaced a minimum of 6 feet apart.

       (c) Nothing in this section shall be construed to prohibit the use of these facilities for public
           health or other emergency purposes.

4. Gathering restrictions for facilities. In addition to the gathering limitations set forth
   elsewhere in this order, the following limitations apply to gatherings in the following facilities:

       (a) A gathering at a retail store, library, or museum must not exceed 30% of total occupancy
           limits established by the State Fire Marshal or a local fire marshal. Nevertheless, a retail
           store, library, or museum may permit one customer at a time to enter if strict adherence to
           the 30% total occupancy limit would otherwise result in closure.




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             (1) Retail stores must establish lines to regulate entry and checkout, with markings for
                 patrons to enable them to stand at least six feet apart from one another while
                 waiting.

      (b) At exercise facilities:

             (1) Gatherings must not exceed 25% of the total occupancy limits established by the
                 State Fire Marshal or a local fire marshal; and

             (2) There must be at least 12 feet of distance between each occupied workout station;

             (3) Gatherings for group fitness activities or classes are prohibited.

      (c) Gatherings in waiting rooms at outpatient health-care facilities, veterinary clinics, and
          other businesses are prohibited unless the facility implements a system to ensure that
          persons not of the same household maintain 6 feet of distance. To the extent possible, this
          system must include a policy that patients wait in their cars for their appointments to be
          called.

      (d) A gathering at an indoor or outdoor pool not otherwise prohibited by this order must not
          exceed 25% of bather capacity limits described in Rule 325.2193 of the Michigan
          Administrative Code.

      (e) In facilities offering non-essential personal care services, including hair, nail, tanning,
          massage, traditional spa, tattoo, body art, and piercing services, and similar personal care
          services, gatherings are only permitted to the extent that services do not involve the
          removal of face masks. All services must be provided by appointment, and gatherings in
          waiting areas are prohibited.

5. Schools, colleges, and universities.

      (a) Gatherings at public, nonpublic, and boarding schools for the purpose of conducting in-
          person instruction, sports, and extracurricular activities serving pupils in grades 9 through
          12 are prohibited, except for in-person instruction of pupils who are English Language
          Learners or participants in special education services;

      (b) Gatherings at public, nonpublic, and boarding schools for the purpose of conducting in-
          person instruction of pupils in prekindergarten through grade 8 are permitted, subject to
          local health department and school district decisions on remote learning. Gatherings for the
          purpose of sports and extracurricular activity are prohibited;

      (c) Gatherings at public, nonpublic, and boarding schools are permitted for the purpose of
          providing services to students in need, including food distribution, access to internet
          connectivity, physical and mental health care services, and child care;

      (d) Gatherings at colleges and universities are prohibited for the purpose of holding in-person
          classes, extracurricular events, or other events are prohibited, except as permitted in
          sections 2 and 6 of this order.

6. Organized sports gathering restrictions.

      (a) Gatherings for the purpose of organized sports are prohibited unless all participants,
          teams, and venues comply with the enhanced testing regimen specified in the Additional
          Mitigation Measures for Safer Athletic Practice and Play without the use of Face Coverings
          section of MDHHS guidance on Additional Measures for Safer Athletic Practice and Play.


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          Sports organizers complying with this section may host gatherings for the purpose of
          practice and competition notwithstanding the gathering prohibitions in sections 2 and 5(c).

      (b) Sports organizers may not permit gatherings of spectators.

7. Face mask requirement at gatherings.

      (a) All persons participating in gatherings are required to wear a face mask.

      (b) As a condition of gathering for the purpose of transportation, transportation providers must
          require all staff and patrons to use face masks, and must enforce physical distancing among
          all patrons to the extent feasible.

      (c) Except as provided elsewhere in this order, a person responsible for a business, store, office,
          government office, school, organized event, or other operation, or an agent of such person,
          must prohibit gatherings of any kind unless the person requires individuals in such
          gatherings (including employees) to wear a face mask, and denies entry or service to all
          persons refusing to wear face masks while gathered.

      (d) A person responsible for a business, store, office, government office, school, organized event,
          or other operation, or an agent of such person, may not assume that someone who enters
          the facility without a face mask falls within one of the exceptions specified in section 8 of
          this order, including the exception for individuals who cannot medically tolerate a face
          mask. An individual’s verbal representation that they are not wearing a face mask because
          they fall within a specified exception, however, may be accepted.

      (e) A person responsible for a child-care organization or camp, or an agent of such person, must
          not allow gatherings unless face masks are worn by all staff. Children must wear face
          masks as indicated below:

              (1) All children 2 years and older when on a school bus or other transportation provided
                  by the child-care organization or camp;

              (2) All children 4 years and older when in indoor hallways and indoor common areas;

              (3) All children 5 years and older when in classrooms, homes, cabins, or similar indoor
                  settings.

8. Exceptions to face mask requirements. Although a face mask is strongly encouraged even for
   individuals not required to wear one (except for children under the age of 2), the requirement to
   wear a face mask in gatherings as required by this order does not apply to individuals who:

       (a) Are younger than 5 years old, outside of child-care organization setting (which are subject
           to requirements set out in section 7(e));

       (b) Cannot medically tolerate a face mask;

       (c) Are eating or drinking while seated at a food service establishment or at a private
           residence;

       (d) Are exercising outdoors and able to consistently maintain 6 feet of distance from others;

       (e) Are swimming;

       (f) Are receiving a medical service for which removal of the face mask is necessary;


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      (g) Are asked to temporarily remove a face mask for identification purposes;

      (h) Are communicating with someone who is deaf, deafblind, or hard of hearing and whose
          ability to see the mouth is essential to communication;

      (i) Are actively engaged in a public safety role, including but not limited to law enforcement,
          firefighters, or emergency medical personnel, and where wearing a face mask would
          seriously interfere in the performance of their public safety responsibilities;

      (j) Are at a polling place for purposes of voting in an election;

      (k) Are engaging in a religious service; or

      (l) Are giving a speech for broadcast or to an audience, provided that the audience is at least 6
          feet away from the speaker.

9. Contact tracing requirements for particular gatherings.

      (a) Gatherings are prohibited at the following facilities unless the facility maintains accurate
          records, including date and time of entry, names of patrons, and contact information, to aid
          with contact tracing, and denies entry for a gathering to any visitor who does not provide,
          at a minimum, their name and phone number:

             (1) All businesses or operations that provide barbering, cosmetology services, body art
                 services (including tattooing and body piercing), tanning services, massage services,
                 or similar personal care services;

             (2) Exercise facilities.

      (b) All businesses or operations that provide in-home services, including cleaners, repair
          persons, painters, and the like must not permit their employees to gather with clients
          unless the business maintains accurate appointment records, including date and time of
          service, name of client, and contact information, to aid with contact tracing.

      (c) Upon request, businesses, schools, and other facilities must provide names and phone
          numbers of individuals with possible COVID-19 exposure to MDHHS and local health
          departments to aid in contact tracing and case investigation efforts.

      (d) Data collected under this section:

             (1) Must not be sold, or used for sales or marketing purposes without the express
                 consent of each patron;

             (2) Must be protected as confidential information to the fullest extent of the law;

             (3) Must not be provided to law enforcement or immigration officials except upon receipt
                 of a lawful subpoena from a court or other lawful court order;

             (4) Must be retained for 28 days by the collecting organization, after which time the
                 data must be destroyed. If facilities use existing data to fulfill this requirement, they
                 may instead follow their own pre-existing data retention and destruction policies at
                 the conclusion of the 28-day retention period.




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   10. Implementation.

          (a) Nothing in this order modifies, limits, or abridges protections provided by state or federal
              law for a person with a disability.

          (b) Under MCL 333.2235(1), local health departments are authorized to carry out and enforce
              the terms of this order.

          (c) Law enforcement officers, as defined in the Michigan Commission on Law Enforcement
              Standards Act, 1965 Public Act 203, MCL 28.602(f), are deemed to be “department
              representatives” for purposes of enforcing this order, and are specifically authorized to
              investigate potential violations of this order. They may coordinate as necessary with the
              appropriate regulatory entity and enforce this order within their jurisdiction.

          (d) Neither a place of religious worship nor its owner is subject to penalty under this order for
              allowing religious worship at such place. No individual is subject to penalty under this
              order for engaging in religious worship at a place of religious worship.

          (e) Consistent with MCL 333.2261, violation of this order is a misdemeanor punishable by
              imprisonment for not more than 6 months, or a fine of not more than $200.00, or both.

          (f) Nothing in this order affects any prosecution or civil citation based on conduct that occurred
              before the effective date of this order.

          (g) Nothing in this order should be taken to interfere with or infringe on the powers of the
              legislative and judicial branches to perform their constitutional duties or exercise their
              authority, or protections guaranteed by the state or federal constitution under these
              emergency circumstances.

          (h) Consistent with any rule or emergency rule promulgated and adopted in a schedule of
              monetary civil penalties under MCL 333.2262(1) and applicable to this order, violations of
              this order are also punishable by a civil fine of up to $1,000 for each violation or day that a
              violation continues.

          (i) If any provision of this order is found invalid by a court of competent jurisdiction, whether
              in whole or in part, such decision will not affect the validity of the remaining part of this
              order.

          (j) It is not a violation of this order for a person to enter a facility otherwise closed for
              gatherings if they are entering solely for the purpose of using restroom facilities.

This order takes effect on November 18, 2020 at 12:01 AM, at which time the October 29, 2020, order
entitled Gatherings and Face Mask Order is rescinded. This order remains in effect through December 8,
2020 at 11:59 PM. Persons with suggestions and concerns are invited to submit their comments via email
to COVID19@michigan.gov.


                                                                               Date: November 15, 2020



                                                                   _______________________________________

                                                                                       Robert Gordon, Director

                                                       Michigan Department of Health and Human Services


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